Case 9:20-md-02924-RLR Document 409 Entered on FLSD Docket 03/19/2020 Page 1 of 2



                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA


 IN RE: ZANTAC (RANITIDINE)                                                      MDL NO. 2924
 PRODUCTS LIABILITY                                                               20-MD-2924
 LITIGATION
                                                      JUDGE ROBIN L. ROSENBERG
                                            MAGISTRATE JUDGE BRUCE E. REINHART

 _______________________________/

 THIS DOCUMENT RELATES TO: ALL CASES

                                   PRETRIAL ORDER #10
                        Order Appointing Interim Defense Leadership Team

        In Pretrial Order #1, this Court set forth the need for an Initial Census Team and subsequently

 a Practices and Procedures Team; appointments on behalf of the plaintiffs were made by this court in

 Pretrial Order #4. Pretrial Order #1 also identified the likely need for not only plaintiffs’ leadership,

 but potentially a defense leadership group as well. The Court recognizes that as cases are transferred

 to and direct filed in this MDL, an additional number of defendants will likely be added to the

 litigation, and that additional clarity will be provided by plaintiffs’ leadership, once appointed, as to

 the scope and breadth of the allegations in this litigation.

        In anticipation of additional defendants potentially entering the litigation, the Court now

 appoints Joseph Petrosinelli (Williams & Connolly), Anand Agneshwar (Arnold & Porter), Andrew

 Bayman (King & Spalding), and Mark Cheffo (Dechert) to serve as defense leadership on an interim

 basis. They are specifically charged with negotiating with the Initial Census and Practices and

 Procedures Teams. In addition, the Court requests that Thomas Yoo (Holland & Knight) and Richard

 Barnes (Goodell Devries) serve as interim liaison counsel for the generic manufacturers. Mr.

 Petrosinelli is requested to ensure that Mr. Yoo and Mr. Barnes are kept updated as to the progress of

 the litigation and negotiations.
Case 9:20-md-02924-RLR Document 409 Entered on FLSD Docket 03/19/2020 Page 2 of 2



         These appointments are made on an interim basis, with the expectation that a permanent

 defense leadership structure will be set once the Court better understands from the parties the nature

 and scope of claims alleged, and in turn the scope of the defendants whose interests will need to be

 represented in this litigation. This Order is made without prejudice to the appointment of additional

 interim liaison counsel if other categories of defendants arise that require distinct representation.

         DONE and ORDERED in Chambers, West Palm Beach, Florida, this 19th day of March,

 2020.



                                                        ________________________________
                                                        ROBIN L. ROSENBERG
 Copies furnished to Counsel of Record                  UNITED STATES DISTRICT JUDGE




                                                    2
